                             UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION AT FLINT

IN RE: Michael D Bommer                                                    Case No. 15-30151
                                                                           Chapter 13
          Debtor(s)                                                        Judge Daniel S. Opperman
_________________________/



                              ORDER MODIFYING POST CONFIRMATION PLAN

IT IS HEREBY ORDERED that the Debtor’s Chapter 13 plan payments shall increase to $491.94 per month.

IT IS FURTHER ORDERED that in all other respects the Plan and Order Confirming Plan as last modified remains

in full force and effect.

                                                      .

Signed on October 30, 2015
                                                  ____ _/s/ Daniel S. Opperman_    __
                                                       Daniel S. Opperman
                                                       United States Bankruptcy Judge




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